                          Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 1 of 44
(Official Form 1) (10/05)
                                            UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF TEXAS                                                                                Voluntary Petition
                                                   HOUSTON DIVISION                                                                                            Case #: 06-30097
Name of Debtor (if individual, enter Last, First, Middle):                                         Name of Joint Debtor (Spouse) (Last, First, Middle):
Valdez, Raymond                                                                                    Valdez, Andrea

All Other Names used by the Debtor in the last 8 years                                             All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                        (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more                          Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more
than one, state all):                                                                              than one, state all):
xxx-xx-7670                                                                                        xxx-xx-4115
Street Address of Debtor (No. & Street, City, and State):                                          Street Address of Joint Debtor (No. & Street, City, and State):
1101 E. Trinity                                                                                    1101 E. Trinity
Victoria, TX                                                                                       Victoria, TX
                                                                          ZIPCODE                                                                                        ZIPCODE
                                                                           77901                                                                                         77901
County of Residence or of the Principal Place of Business:                                         County of Residence or of the Principal Place of Business:
Victoria                                                                                           Victoria
Mailing Address of Debtor (if different from street address):                                      Mailing Address of Joint Debtor (if different from street address):
1101 E. Trinity                                                                                    1101 E. Trinity
Victoria, TX                                                                                       Victoria, TX
                                                                          ZIPCODE                                                                                        ZIPCODE
                                                                           77901                                                                                         77901
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                         ZIPCODE


 Type of Debtor (Form of Organization)                         Nature of Business                                Chapter of Bankruptcy Code Under Which
               (Check one box.)                              (Check all applicable boxes.)                          the Petition is Filed (Check one box)
 þ    Individual (includes Joint Debtors)
                                                     ¨   Health Care Business
 ¨    Corporation (includes LLC and LLP)
                                                     ¨   Single Asset Real Estate as defined       ¨    Chapter 7           ¨     Chapter 11       ¨ Chapter  15 Petition for Recognition
                                                                                                                                                     of a Foreign Main Proceeding
 ¨    Partnership                                        in 11 U.S.C. § 101(51B)                   ¨    Chapter 9           ¨     Chapter 12

 ¨    Other (If debtor is not one of the above       ¨   Railroad                                                þ   Chapter 13                    ¨ Chapter 15 Petition for Recognition
      entities, check this box and provide the                                                                                                          of a Foreign Nonmain Proceeding
      information requested below.)                  ¨   Stockbroker

      State type of entity:                          ¨   Commodity Broker                                                Nature of Debts (Check one box)
                                                     ¨   Clearing Bank                             þ    Consumer/Non-Business                      ¨    Business
                                                     ¨   Nonprofit Organization qualified
                                                         under 15 U.S.C. § 501(c)(3)                                                Chapter 11 Debtors
                                                                                                   Check one box:
                              Filing Fee (Check one box)
                                                                                                   ¨    Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
 þ    Full Filing Fee attached
                                                                                                   ¨    Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
 ¨    Filing Fee to be paid in installments (Applicable to individuals only)
      Must attach signed application for the court's consideration certifying that the             Check if:
      debtor is unable to pay fee except in installments. Rule 1006(b). See Official
      Form 3A.                                                                                     ¨    Debtor's aggregate noncontigent liquidated debts owed to non-insiders or
                                                                                                        affiliates are less than $2 million.
      Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must
 ¨    attach signed application for the court's consideration. See Official Form 3B.
 Statistical/Administrative Information                                                                                                           THIS SPACE IS FOR COURT USE ONLY

 þ    Debtor estimates that funds will be available for distribution to unsecured creditors.

 ¨    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number
 of Creditors            1-         50-        100-          200-     1,000-     5,001-      10,001-   25,001-    50,001-     OVER
                         49         99         199           999      5,000      10,000      25,000    50,000     100,000    100,000
                        þ          ¨             ¨           ¨         ¨          ¨            ¨         ¨           ¨          ¨
 Estimated Assets
   $0 to         $50,001 to       $100,001 to         $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000            $1 million      $10 million   $50 million   $100 million  $100 million
   ¨                 þ                 ¨                 ¨                 ¨                 ¨               ¨                ¨
 Estimated Debts
   $0 to         $50,001 to       $100,001 to         $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to More than
  $50,000         $100,000         $500,000            $1 million      $10 million   $50 million   $100 million  $100 million
   ¨                 ¨                 þ                 ¨                 ¨                 ¨               ¨                ¨
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2005 (Build 7.5.2.1, ID 0113095760)
                          Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 2 of 44
(Official Form 1) (10/05)                                                                                                                                      FORM B1, Page 2
 Voluntary Petition                                                                     Name of Debtor(s):    Raymond Valdez
                                                                                                              Andrea Valdez
 (This page must be completed and filed in every case)
                              Prior Bankruptcy Case Filed Within Last 8 Years                  (If more than two, attach additional sheet)
Location Where Filed:                                                                   Case Number:                                  Date Filed:
 None
Location Where Filed:                                                                   Case Number:                                  Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                 (If more than one, attach additional sheet)
Name of Debtor:                                                                         Case Number:                                  Date Filed:


District:                                                                               Relationship:                                 Judge:


                                         Exhibit A                                                                             Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                           (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                              whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)     I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                        informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                        of title 11, United States Code, and have explained the relief available under each
                                                                                        such chapter.
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                        I further certify that I delivered to the debtor the notice required by § 342(b) of the
                                                                                        Bankruptcy Code.

                                                                                        X     /s/ Sonya Kapp                                                     01/10/2006
                                                                                             Sonya Kapp                                                             Date
                                         Exhibit C                                                  Certification Concerning Debt Counseling
 Does the debtor own or have possession of any property that poses or is alleged to                      by Individual/Joint Debtor(s)
 pose a threat of imminent and identifiable harm to public health or safety?
                                                                                              I/we have received approved budget and credit counseling during the 180-day
                                                                                        þ     period preceding the filing of this petition.
 ¨      Yes, and Exhibit C is attached and made a part of this petition.
                                                                                        ¨     I/we request a waiver of the requirement to obtain budget and credit counseling
                                                                                              prior to filing based on exigent circumstances. (Must attach certifcation
 þ      No
                                                                                              describing.)


                                                     Information Regarding the Debtor (Check the Applicable Boxes)
                                                                  Venue (Check any applicable box)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding (in a federal or state court) in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.


                                                Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                      Check all applicable boxes.


 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)
                Name of landlord that obtained judgment:
                Address of landlord:




 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and



 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.




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                          Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 3 of 44
(Official Form 1) (10/05)                                                                                                                                             FORM B1, Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Raymond Valdez
                                                                                                                    Andrea Valdez
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by § 342(b) of the
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by § 1515 of title 11 are attached.
 Bankruptcy Code.

 I request relief in accordance with the chapter of title 11, United States Code,            ¨ Pursuant  to § 1511 of title 11, United States Code, I request relief in accordance
                                                                                               with the chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                     order granting recognition of the foreign main proceeding is attached.


 X     /s/ Raymond Valdez
      Raymond Valdez
                                                                                             X
       /s/ Andrea Valdez                                                                         (Signature of Foreign Representative)
 X    Andrea Valdez

                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by an attorney)
     01/10/2006
     Date                                                                                        (Date)
                              Signature of Attorney                                                         Signature of Non-Attorney Petition Preparer
                                                                                             I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer as
 X     /s/ Sonya Kapp                                                                        defined in 11 U.S.C. § 110; 2) I prepared this document for compensation and
      Sonya Kapp                                       Bar No. 11095395                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a
 Boren, Swindell & Associates, L.L.P.                                                        maximum fee for services chargeable by bankruptcy petition preparers, I have
 2900 Weslayan, #595                                                                         given the debtor notice of the maximum amount before preparing any document
                                                                                             for filing for a debtor or accepting any fee from the debtor, as required in that
 Houston, TX 77027
                                                                                             section. Official Form 19B is attached.


          (713) 622-8858
 Phone No.______________________        (713) 622-3701
                                 Fax No.______________________                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     01/10/2006
     Date                                                                                    Social Security number (If the bankruptcy petition preparer is not an individual,
                                                                                             state the Social Security number of the officer, principal, responsible person or
                                                                                             partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of Bankruptcy Petiton Preparer or officer, principal, responsible person, or
                                                                                             partner whose social security number is provided above.

                                                                                             Names and Social Security numbers of all other individuals who prepared or
     Printed Name of Authorized Individual
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
                                                                                             an individual:
     Title of Authorized Individual

                                                                                              If more than one person prepared this document, attach additional sheets
     Date                                                                                     conforming to the appropriate official form for each person.

                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11
                                                                                              and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both (11 U.S.C. § 110; 18 U.S.C. § 156).
                Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 4 of 44
Form B6A                          UNITED STATES BANKRUPTCY COURT
(10/05)                              SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION
  IN RE:   Raymond Valdez                                           CASE NO                        06-30097
           Andrea Valdez
                                                                    CHAPTER                        13


                                  SCHEDULE A - REAL PROPERTY


                                                                                                     Current Value




                                                                            Husband, Wife, Joint
                                                                                                      of Debtor's
                Description and                    Nature of Debtor's




                                                                              Or Community
                                                                                                       Interest in
                  Location of                     Interest in Property
                                                                                                   Property, Without    Amount Of
                   Property                                                                                            Secured Claim
                                                                                                    Deducting Any
                                                                                                    Secured Claim
                                                                                                     or Exemption


 NORTH HEIGHTS LOT 5 BLOCK 118               Fee Simple                        C                         $48,900.00        $55,297.00




                                                                         Total:                          $48,900.00
                                                                         (Report also on Summary of Schedules)
                    Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 5 of 44
Form B6B                                     UNITED STATES BANKRUPTCY COURT
(10/05)                                         SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE:    Raymond Valdez                                                                 CASE NO      06-30097
            Andrea Valdez
                                                                                          CHAPTER       13

                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                   Husband, Wife, Joint
                                                                                                                                          Current Value of
                                                                                                                                          Debtor's Interest




                                                                                                                     or Community
                                                                                                                                             in Property,

                                           None
                                                                                                                                          Without Deducting
            Type of Property                                     Description and Location of Property                                       any Secured
                                                                                                                                               Claim or
                                                                                                                                              Exemption

1. Cash on hand.                           X

2. Checking, savings or other finan-              Wells Fargo Checking *2315                                             C                         $25.00
cial accounts, certificates of deposit,
or shares in banks, savings and loan,             Cal-Com Federal Credit Union * 3550                                    C                         $47.61
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-     X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,               Stove                                                                  C                        $100.00
including audio, video and computer
equipment.                                        Microwave                                                              C                         $10.00

                                                  Refrigerator                                                           C                        $150.00

                                                  Washing Machine                                                        C                         $25.00

                                                  Dryer                                                                  C                         $50.00

                                                  Living Room Furn                                                       C                        $100.00

                                                  Silverware                                                             C                         $10.00

                                                  Bedroom Furn                                                           C                        $200.00

                                                  TV                                                                     C                         $50.00

                                                  VCR                                                                    C                         $25.00

                                                  Dining Room Furn                                                       C                        $150.00




                                                                                                              Total >                             $942.61
                    Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 6 of 44
Form B6B                                    UNITED STATES BANKRUPTCY COURT
(10/05)                                        SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
  IN RE:    Raymond Valdez                                                                CASE NO      06-30097
            Andrea Valdez
                                                                                         CHAPTER       13

                                         SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 1




                                                                                                                  Husband, Wife, Joint
                                                                                                                                         Current Value of
                                                                                                                                         Debtor's Interest




                                                                                                                    or Community
                                                                                                                                            in Property,

                                          None
                                                                                                                                         Without Deducting
            Type of Property                                    Description and Location of Property                                       any Secured
                                                                                                                                              Claim or
                                                                                                                                             Exemption


5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Clothing                                                               C                        $100.00


7. Furs and jewelry.                             Jewelry                                                                C                        $250.00


8. Firearms and sports, photo-            X
graphic, and other hobby equipment.

9. Interests in insurance policies.       X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name           X
each issuer.

11. Interests in an education IRA as      X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh,       X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-       X
rated and unincorporated businesses.
Itemize.



                                                                                                             Total >                           $1,292.61
                    Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 7 of 44
Form B6B                                      UNITED STATES BANKRUPTCY COURT
(10/05)                                          SOUTHERN DISTRICT OF TEXAS
                                                      HOUSTON DIVISION
  IN RE:    Raymond Valdez                                                         CASE NO      06-30097
            Andrea Valdez
                                                                                  CHAPTER       13

                                           SCHEDULE B - PERSONAL PROPERTY
                                                     Continuation Sheet No. 2




                                                                                                           Husband, Wife, Joint
                                                                                                                                  Current Value of
                                                                                                                                  Debtor's Interest




                                                                                                             or Community
                                                                                                                                     in Property,

                                            None
                                                                                                                                  Without Deducting
            Type of Property                             Description and Location of Property                                       any Secured
                                                                                                                                       Claim or
                                                                                                                                      Exemption


14. Interests in partnerships or joint      X
ventures. Itemize.

15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.




                                                                                                      Total >                           $1,292.61
                   Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 8 of 44
Form B6B                                     UNITED STATES BANKRUPTCY COURT
(10/05)                                         SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION
  IN RE:   Raymond Valdez                                                                CASE NO      06-30097
           Andrea Valdez
                                                                                        CHAPTER       13

                                         SCHEDULE B - PERSONAL PROPERTY
                                                           Continuation Sheet No. 3




                                                                                                                 Husband, Wife, Joint
                                                                                                                                        Current Value of
                                                                                                                                        Debtor's Interest




                                                                                                                   or Community
                                                                                                                                           in Property,

                                           None
                                                                                                                                        Without Deducting
           Type of Property                                    Description and Location of Property                                       any Secured
                                                                                                                                             Claim or
                                                                                                                                            Exemption


22. Patents, copyrights, and other         X
intellectual property. Give
particulars.

23. Licenses, franchises, and other        X
general intangibles. Give particulars.

24. Customer lists or other compilations   X
containing personally identifiable
information (as defined in 11 U.S.C.
101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                2004 Dodge Ram 1500                                                  C                     $16,700.00
and other vehicles and accessories.
                                                  2005 Chrysler 300                                                    C                     $21,500.00


26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,        X
and supplies used in business.

30. Inventory.                             X

31. Animals.                               X

32. Crops - growing or harvested.          X
Give particulars.



                                                                                                            Total >                          $39,492.61
                  Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 9 of 44
Form B6B                                UNITED STATES BANKRUPTCY COURT
(10/05)                                    SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION
  IN RE:   Raymond Valdez                                                           CASE NO      06-30097
           Andrea Valdez
                                                                                   CHAPTER       13

                                     SCHEDULE B - PERSONAL PROPERTY
                                                      Continuation Sheet No. 4




                                                                                                            Husband, Wife, Joint
                                                                                                                                   Current Value of
                                                                                                                                   Debtor's Interest




                                                                                                              or Community
                                                                                                                                      in Property,

                                      None
                                                                                                                                   Without Deducting
           Type of Property                               Description and Location of Property                                       any Secured
                                                                                                                                        Claim or
                                                                                                                                       Exemption


33. Farming equipment and             X
implements.

34. Farm supplies, chemicals, and     X
feed.

35. Other personal property of any           John Deere Riding Mower                                              C                      $4,000.00
kind not already listed. Itemize.




                                                                                                       Total >                          $43,492.61
                    Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 10 of 44
                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
  IN RE:     Raymond Valdez                                                                CASE NO       06-30097
             Andrea Valdez
                                                                                          CHAPTER        13

                                    SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:           ¨     Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                 $125,000.

þ     11 U.S.C. § 522(b)(2)
¨     11 U.S.C. § 522(b)(3)




                                                                                                                                Current
                                                                                                                           Value of Property
                                                              Specify Law Providing Each            Value of Claimed
               Description of Property                                                                                     Without Deducting
                                                                      Exemption                        Exemption
                                                                                                                               Exemption



NORTH HEIGHTS LOT 5 BLOCK 118                           11 U.S.C. § 522(d)(1)                                     $0.00             $48,900.00

Wells Fargo Checking *2315                              11 U.S.C. § 522(d)(5)                                   $25.00                  $25.00

Cal-Com Federal Credit Union * 3550                     11 U.S.C. § 522(d)(5)                                   $47.61                  $47.61

Stove                                                   11 U.S.C. § 522(d)(3)                                  $100.00                 $100.00

Microwave                                               11 U.S.C. § 522(d)(3)                                   $10.00                  $10.00

Refrigerator                                            11 U.S.C. § 522(d)(3)                                  $150.00                 $150.00

Washing Machine                                         11 U.S.C. § 522(d)(3)                                   $25.00                  $25.00

Dryer                                                   11 U.S.C. § 522(d)(3)                                   $50.00                  $50.00

Living Room Furn                                        11 U.S.C. § 522(d)(3)                                  $100.00                 $100.00

Silverware                                              11 U.S.C. § 522(d)(3)                                   $10.00                  $10.00

Bedroom Furn                                            11 U.S.C. § 522(d)(3)                                  $200.00                 $200.00

TV                                                      11 U.S.C. § 522(d)(3)                                   $50.00                  $50.00

VCR                                                     11 U.S.C. § 522(d)(3)                                   $25.00                  $25.00

Dining Room Furn                                        11 U.S.C. § 522(d)(3)                                  $150.00                 $150.00

Clothing                                                11 U.S.C. § 522(d)(3)                                  $100.00                 $100.00



                                                                                                              $1,042.61             $49,942.61
                Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 11 of 44
                                     UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION
 IN RE:   Raymond Valdez                                                 CASE NO   06-30097
          Andrea Valdez
                                                                         CHAPTER   13

                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                              Continuation Sheet No. 1



                                                                                                         Current
                                                                                                    Value of Property
                                               Specify Law Providing Each      Value of Claimed     Without Deducting
           Description of Property
                                                       Exemption                  Exemption             Exemption



Jewelry                                    11 U.S.C. § 522(d)(4)                         $250.00             $250.00

2004 Dodge Ram 1500                        11 U.S.C. § 522(d)(2)                           $0.00           $16,700.00

2005 Chrysler 300                          11 U.S.C. § 522(d)(2)                           $0.00           $21,500.00

John Deere Riding Mower                    11 U.S.C. § 522(d)(3)                           $0.00            $4,000.00




                                                                                        $1,292.61          $92,392.61
                    Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 12 of 44
Form B6D   IN RE:   Raymond Valdez                                                                                     CASE NO    06-30097
(10/05)             Andrea Valdez                                                                                                        (If Known)
                                                                                                                      CHAPTER     13

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                         ¨   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
        CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                 AMOUNT OF            UNSECURED




                                                           HUSBAND, WIFE, JOINT




                                                                                                                               UNLIQUIDATED
          MAILING ADDRESS                                                                    INCURRED, NATURE                                   CLAIM              PORTION, IF




                                                                                                                                CONTINGENT
                                                             OR COMMUNITY
                                                CODEBTOR




                                                                                                                                 DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                   WITHOUT                ANY
          ACCOUNT NUMBER                                                                      DESCRIPTION AND                                 DEDUCTING
                                                                                                  VALUE OF                                     VALUE OF
                                                                                             PROPERTY SUBJECT                                 COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    07/01/2004
ACCT #: xxxxxx7678                                                                NATURE OF LIEN:
                                                                                  Automobile
Chrysler Credit                                                                   COLLATERAL:
                                                                                  2004 Dodge Ram 1500                                                 $22,111.00       $5,411.00
5225 Crooks Rd Ste 140                                        C                   REMARKS:
Troy, MI 48098



                                                                                  VALUE:                          $16,700.00
                                                                                  DATE INCURRED:    05/10/2001
ACCT #: xxxxxxxxxxxx4980                                                          NATURE OF LIEN:
                                                                                  Charge Account
Deere Credit Services                                                             COLLATERAL:
                                                                                  John Deere Riding Mower                                              $4,131.00         $131.00
8402 Excelsior Dr                                             C                   REMARKS:
Madison, WI 53717



                                                                                  VALUE:                           $4,000.00
                                                                                  DATE INCURRED:    03/30/2005
ACCT #: x0314                                                                     NATURE OF LIEN:
                                                                                  Automobile
Texas Dow Employees Cu                                                            COLLATERAL:
                                                                                  2005 Chrysler 300                                                   $25,669.00       $4,169.00
1001 F M 2004                                                 C                   REMARKS:
Lake Jackson, TX 77566



                                                                                  VALUE:                          $21,500.00
                                                                                  DATE INCURRED:    08/04/2000
ACCT #: xxxxxx6939                                                                NATURE OF LIEN:
                                                                                  FHA Real Estate Mortgage
Wells Fargo Home Mtg                                                              COLLATERAL:
                                                                                  mtg                                                                 $55,297.00       $6,397.00
405 Sw 5th St                                                 C                   REMARKS:
Des Moines, IA 50309



                                                                                  VALUE:                          $48,900.00




                                                                                                       Subtotal (Total of this Page) >           $107,208.00
 ________________continuation
        No                    sheets attached
                                                                                                      Total (Use only on last page) >            $107,208.00
                                                                                                                             (Report total also on Summary of Schedules)
                    Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 13 of 44
                                              UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF TEXAS
                                                      HOUSTON DIVISION
   IN RE:    Raymond Valdez                                                                       CASE NO         06-30097
             Andrea Valdez
                                                                                                 CHAPTER          13

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS


              ¨ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal
    guardian, or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to
    the extent provided in 11 U.S.C. § 507(a)(1).

¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,225* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


þ   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. §
    507(a)(9).

¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


þ   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. Secs. 326, 328, 329 and 330.


* Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


 ________________continuation
        2                     sheets attached
                 Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 14 of 44
  IN RE:   Raymond Valdez                                                                                       CASE NO    06-30097
           Andrea Valdez                                                                                                          (If Known)
                                                                                                                CHAPTER    13

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                               Continuation Sheet No. 1
                 TYPE OF PRIORITY   Taxes and Certain Other Debts Owed to Governmental Units




                                                     HUSBAND, WIFE, JOINT




                                                                                                                        UNLIQUIDATED
                                                                                                                         CONTINGENT
                                                       OR COMMUNITY
                                          CODEBTOR




                                                                                                                          DISPUTED
             CREDITOR'S NAME,                                                       DATE CLAIM WAS INCURRED                               AMOUNT          AMOUNT
              MAILING ADDRESS                                                        AND CONSIDERATION FOR                                  OF          ENTITLED TO
            INCLUDING ZIP CODE,                                                              CLAIM                                         CLAIM         PRIORITY
           AND ACCOUNT NUMBER


ACCT #:                                                                     DATE INCURRED:
                                                                            CONSIDERATION:
IRS                                                                         Taxes                                                         Notice Only     Notice Only
P.O. Box 21126                                                              REMARKS:
Philadelphia, PA 19114                                   C




                                                                                               Total for this Page (Subtotal) >                 $0.00           $0.00
                                                                                                              Running Total >                   $0.00           $0.00
                Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 15 of 44
 IN RE:   Raymond Valdez                                                                                       CASE NO    06-30097
          Andrea Valdez                                                                                                          (If Known)
                                                                                                               CHAPTER    13

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                              Continuation Sheet No. 2
                TYPE OF PRIORITY   Administrative allowances




                                                    HUSBAND, WIFE, JOINT




                                                                                                                       UNLIQUIDATED
                                                                                                                        CONTINGENT
                                                      OR COMMUNITY
                                         CODEBTOR




                                                                                                                         DISPUTED
            CREDITOR'S NAME,                                                     DATE CLAIM WAS INCURRED                                 AMOUNT             AMOUNT
             MAILING ADDRESS                                                      AND CONSIDERATION FOR                                    OF             ENTITLED TO
           INCLUDING ZIP CODE,                                                            CLAIM                                           CLAIM            PRIORITY
          AND ACCOUNT NUMBER


ACCT #:                                                                    DATE INCURRED:   12/13/2005
                                                                           CONSIDERATION:
Boren Swindell & Assoc.                                                    Attorney Fees                                                      $1,800.00       $1,800.00
2900 Weslayan, Suite 595                                                   REMARKS:
Houston, TX 77027                                       C




                                                                                              Total for this Page (Subtotal) >                $1,800.00        $1,800.00
                                                                                                             Running Total >                  $1,800.00        $1,800.00
                 Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 16 of 44
  IN RE:   Raymond Valdez                                                                                          CASE NO   06-30097
           Andrea Valdez                                                                                                          (If Known)
                                                                                                                   CHAPTER   13

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                 ¨ Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
              CREDITOR'S NAME,                                                                    DATE CLAIM WAS                                         AMOUNT OF




                                                            HUSBAND, WIFE, JOINT




                                                                                                                                          UNLIQUIDATED
                                                                                                                                           CONTINGENT
               MAILING ADDRESS                                                                     INCURRED AND                                            CLAIM




                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                            DISPUTED
             INCLUDING ZIP CODE,                                                               CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                         CLAIM.
                                                                                              IF CLAIM IS SUBJECT TO
                                                                                                 SETOFF, SO STATE.


ACCT #: xxxxxxxx3890                                                               DATE INCURRED:     10/1993
                                                                                   CONSIDERATION:
Cal-com Cred                                                                       Credit Card                                                               $2,725.00
Po Box 1005                                                                        REMARKS:
                                                              C
Port Lavaca, TX 77979



ACCT #: xxxxxxxxxxxx1433                                                           DATE INCURRED:     02/08/2004
                                                                                   CONSIDERATION:
Citibank Usa                                                                       Charge Account                                                             $165.00
Po Box 9714                                                                        REMARKS:
                                                              C
Gray, TN 37615



ACCT #: xxxxx0607                                                                  DATE INCURRED:     03/05/1984
                                                                                   CONSIDERATION:
Credit First N A                                                                   Charge Account                                                             $978.00
6275 Eastland Rd                                                                   REMARKS:
                                                              C
Brook Park, OH 44142



ACCT #: xxxx4798                                                                   DATE INCURRED:     01/2001
                                                                                   CONSIDERATION:
Credit Systems International/ Collection                                           Unknown Loan Type                                                          $358.00
1277 Country Club                                                                  REMARKS:
                                                              C
Fort Worth, TX 76112



ACCT #: xxxxxxxxx, xxxxx6700                                                       DATE INCURRED:
                                                                                   CONSIDERATION:
DeTar Hospital                                                                     Medical services                                                          $6,811.45
506 E San Antonio St                                                               REMARKS:
                                                              C
Victoria, TX 77901



ACCT #: xxxxx9063                                                                  DATE INCURRED:
                                                                                   CONSIDERATION:
DeTar Hospital                                                                     Medical services                                                           $146.93
506 E San Antonio                                                                  REMARKS:
                                                              C
Victoria, TX 77901



ACCT #: xxxxxxxx4103                                                               DATE INCURRED:     05/26/2002
                                                                                   CONSIDERATION:
Gemb/dillards                                                                      Charge Account                                                             $148.00
Po Box 981400                                                                      REMARKS:
                                                              C
El Paso, TX 79998



                                                                                                                                     Subtotal >              $11,332.38
________________continuation
       2                     sheets attached
                                                                              Total (Use only on last page of the completed Schedule F) >
                 Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 17 of 44
  IN RE:   Raymond Valdez                                                                                    CASE NO   06-30097
           Andrea Valdez                                                                                                    (If Known)
                                                                                                             CHAPTER   13

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                Continuation Sheet No. 1



              CREDITOR'S NAME,                                                                DATE CLAIM WAS                                       AMOUNT OF




                                                      HUSBAND, WIFE, JOINT




                                                                                                                                    UNLIQUIDATED
                                                                                                                                     CONTINGENT
               MAILING ADDRESS                                                                 INCURRED AND                                          CLAIM




                                                        OR COMMUNITY
                                           CODEBTOR




                                                                                                                                      DISPUTED
             INCLUDING ZIP CODE,                                                           CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                     CLAIM.
                                                                                          IF CLAIM IS SUBJECT TO
                                                                                             SETOFF, SO STATE.


ACCT #: xxxxxxxx1806                                                         DATE INCURRED:     04/03/2005
                                                                             CONSIDERATION:
Gemb/funancing                                                               Charge Account                                                            $1,838.00
950 Forrer Blvd                                                              REMARKS:
                                                        C
Kettering, OH 45420



ACCT #: xx1531                                                               DATE INCURRED:     05/2003
                                                                             CONSIDERATION:
Hawkeye Adj (original Creditor:satkartar                                     Unknown Loan Type                                                            $60.00
2300 Pierce St                                                               REMARKS:
                                                        C
Sioux City, IA 51104



ACCT #: xxx-xx-xxxx/xxx-xx-4115                                              DATE INCURRED:
                                                                             CONSIDERATION:
John Swannack, DDS                                                           Medical services                                                          $2,557.00
105 Professional Drive                                                       REMARKS:
                                                        C
Victoria, TX 77901



ACCT #: xxxxxxxx4023                                                         DATE INCURRED:     01/06/1996
                                                                             CONSIDERATION:
Lowes/mbga                                                                   Charge Account                                                            $2,079.00
Po Box 103065                                                                REMARKS:
                                                        C
Roswell, GA 30076



ACCT #: xxxxx7355                                                            DATE INCURRED:     01/30/2003
                                                                             CONSIDERATION:
Medical Data Systems I (original Credito                                     Collection                                                                $4,437.00
2001 9th Ave Ste 312                                                         REMARKS:
                                                        C
Vero Beach, FL 32960



ACCT #: xxxxx6700                                                            DATE INCURRED:     06/19/2003
                                                                             CONSIDERATION:
Medical Data Systems I (original Credito                                     Collection                                                                $2,374.00
2001 9th Ave Ste 312                                                         REMARKS:
                                                        C
Vero Beach, FL 32960



ACCT #: xx9825                                                               DATE INCURRED:     06/08/2001
                                                                             CONSIDERATION:
National Credit System (original Credito                                     Collection                                                                 $243.00
3800 Camp Creek Pkwy B18                                                     REMARKS:
                                                        C
Atlanta, GA 30331



                                                                                                                               Subtotal >              $13,588.00
                                                                        Total (Use only on last page of the completed Schedule F) >
                 Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 18 of 44
  IN RE:   Raymond Valdez                                                                                  CASE NO   06-30097
           Andrea Valdez                                                                                                  (If Known)
                                                                                                           CHAPTER   13

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                Continuation Sheet No. 2



              CREDITOR'S NAME,                                                                DATE CLAIM WAS                                     AMOUNT OF




                                                      HUSBAND, WIFE, JOINT




                                                                                                                                  UNLIQUIDATED
                                                                                                                                   CONTINGENT
               MAILING ADDRESS                                                                 INCURRED AND                                        CLAIM




                                                        OR COMMUNITY
                                           CODEBTOR




                                                                                                                                    DISPUTED
             INCLUDING ZIP CODE,                                                           CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                     CLAIM.
                                                                                          IF CLAIM IS SUBJECT TO
                                                                                             SETOFF, SO STATE.


ACCT #: xxx0841                                                              DATE INCURRED:   10/21/2003
                                                                             CONSIDERATION:
Nco Fin/31 (original Creditor:utmb Physi                                     Collection                                                               $165.00
Po Box 41667                                                                 REMARKS:
                                                        C
Philadelphia, PA 19101



ACCT #: xxxxxxxxxxxx2445                                                     DATE INCURRED:   04/03/2005
                                                                             CONSIDERATION:
Tractor Supply/cbusa N                                                       Charge Account                                                             $44.00
Po Box 9714                                                                  REMARKS:
                                                        C
Gray, TN 37615



ACCT #: xxxxxxxx6205                                                         DATE INCURRED:   04/03/2005
                                                                             CONSIDERATION:
Wells Fargo                                                                  Credit Card                                                             $3,001.00
Po Box 5445                                                                  REMARKS:
                                                        C
Portland, OR 97228




                                                                                                                             Subtotal >               $3,210.00
                                                                        Total (Use only on last page of the completed Schedule F) >                  $28,130.38
                 Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 19 of 44
Form B6G                                  UNITED STATES BANKRUPTCY COURT
(10/05)                                      SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION
  IN RE:   Raymond Valdez                                                     CASE NO      06-30097
           Andrea Valdez
                                                                             CHAPTER       13

                   SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

            þ Check this box if debtor has no executory contracts or unexpired leases.


                                                                DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,        PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
             OF OTHER PARTIES TO LEASE OR CONTRACT.             CONTRACT.
                Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 20 of 44
Form B6H                              UNITED STATES BANKRUPTCY COURT
(10/05)                                  SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
IN RE: Raymond Valdez                                          CASE NO   06-30097
       Andrea Valdez
                                                              CHAPTER    13

                                           SCHEDULE H - CODEBTORS

þ Check this box if debtor has no codebtors.


                NAME AND ADDRESS OF CODEBTOR                    NAME AND ADDRESS OF CREDITOR
                     Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 21 of 44
                                               UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF TEXAS
                                                       HOUSTON DIVISION
     IN RE:   Raymond Valdez                                                           CASE NO       06-30097
              Andrea Valdez
                                                                                      CHAPTER        13

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

 Debtor's Marital Status:                                       Dependents of Debtor and Spouse
          Married             Relationship: Daughter        Age: 40             Relationship:                        Age:
                                            Granddaughter        11




 Employment                    Debtor                                              Spouse
 Occupation                   Retired/Crane Operator                              Retired
 Name of Employer             U.S. Contracters
 How Long Employed            3 months
 Address of Employer          1800 State Highway 35 S
                              Port Lavaca, TX 77979

INCOME: (Estimate of average monthly income)                                                          DEBTOR                  SPOUSE
1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                $2,814.00                  $0.00
2. Estimate monthly overtime                                                                             $0.00                  $0.00
3. SUBTOTAL                                                                                          $2,814.00                    $0.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                           $66.21                 $0.00
   b. Social Security Tax                                                                                  $42.71                 $0.00
   c. Medicare                                                                                              $9.99                 $0.00
   d. Insurance                                                                                             $0.00                 $0.00
   e. Union dues                                                                                            $0.00                 $0.00
   f. Retirement                                                                                            $0.00                 $0.00
   g. Other (specify)                                                                                       $0.00                 $0.00
   h. Other (specify)                                                                                       $0.00                 $0.00
   i. Other (specify)                                                                                       $0.00                 $0.00
   j. Other (specify)                                                                                       $0.00                 $0.00
   k. Other (specify)                                                                                       $0.00                 $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                         $118.91                 $0.00
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                $2,695.09                    $0.00
7.  Regular income from operation of business or profession or farm (attach detailed stmt)                  $0.00                 $0.00
8.  Income from real property                                                                               $0.00                 $0.00
9.  Interest and dividends                                                                                  $0.00                 $0.00
10. Alimony, maintenance or support payments payable to debtor for the debtor's use or                      $0.00                 $0.00
    that of dependents listed above.
11. Social Security or government assistance (specify)                                               $1,394.00                 $494.00
12. Pension or retirement income                                                                         $0.00                   $0.00
13. Other monthly income (specify)
      a. Daughter's contribution to expenses                                                              $200.00                 $0.00
      b.                                                                                                    $0.00                 $0.00
      c.                                                                                                    $0.00                 $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                   $1,594.00                 $494.00
15. TOTAL MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                       $4,289.09                   $494.00
16. TOTAL COMBINED MONTHLY INCOME: $4,783.09                                                     (Report also on Summary of Schedules)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                   Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 22 of 44
                                            UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION
 IN RE:    Raymond Valdez                                                                     CASE NO        06-30097
           Andrea Valdez
                                                                                             CHAPTER         13

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

     Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
     labeled "Spouse."


1. Rent or home mortgage payment (include lot rented for mobile home)
    a. Are real estate taxes included?      þ Yes       ¨ No
    b. Is property insurance included?      þ Yes       ¨ No
2. Utilities: a. Electricity and heating fuel                                                                                               $250.00
              b. Water and sewer                                                                                                             $75.00
              c. Telephone                                                                                                                  $120.00
              d. Other: Cable                                                                                                                $90.00
3. Home maintenance (repairs and upkeep)                                                                                                    $250.00
4. Food                                                                                                                                     $550.00
5. Clothing                                                                                                                                 $100.00
6. Laundry and dry cleaning                                                                                                                  $50.00
7. Medical and dental expenses                                                                                                              $325.00
8. Transportation (not including car payments)                                                                                              $490.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          $75.00
10. Charitable contributions
11. Insurance (not deducted from wages or included in home mortgage payments)
          a. Homeowner's or renter's
          b. Life                                                                                                                           $180.00
          c. Health
          d. Auto                                                                                                                           $400.00
          e. Other:
12. Taxes (not deducted from wages or included in home mortgage payments)
Specify:
13. Installment payments: (In Chapter 11, 12, and 13 cases, do not list payments included in the plan)
           a. Auto:
           b. Other:
           c. Other:
           d. Other:
14. Alimony, maintenance, and support paid to others:
15. Payments for support of add'l dependents not living at your home:
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
17.a. Other: Gas for home                                                                                                                     $50.00
17.b. Other:

18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                         $3,005.00
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
document:


20. STATEMENT OF MONTHLY NET INCOME
a. Total monthly income from Line 16 of Schedule I                                                                                        $4,783.09
b. Total monthly expenses from Line 18 above                                                                                              $3,005.00
c. Monthly net income (a. minus b.)                                                                                                       $1,778.09
                     Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 23 of 44
    Form 6-Summary                      UNITED STATES BANKRUPTCY COURT
    (10/05)                                SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION
  IN RE:    Raymond Valdez                                                           CASE NO      06-30097
            Andrea Valdez
                                                                                    CHAPTER       13



                                                  SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors must also complete the "Statistical Summary of Certain Liabilities."


                                                      AMOUNTS SCHEDULED
                                        ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                LIABILITIES                 OTHER
                                        (YES/NO) SHEETS

 A - Real Property                          Yes         1                     $48,900.00


 B - Personal Property                      Yes         5                     $43,492.61


 C - Property Claimed                       Yes         2
     as Exempt
 D - Creditors Holding                      Yes         1                                              $107,208.00
     Secured Claims

 E - Creditors Holding Unsecured            Yes         3                                                $1,800.00
     Priority Claims

 F - Creditors Holding Unsecured            Yes         3                                               $28,130.38
     Nonpriority Claims

 G - Executory Contracts and                Yes         1
    Unexpired Leases

 H - Codebtors                              Yes         1


 I - Current Income of                      Yes         1                                                                     $4,783.09
     Individual Debtor(s)

 J - Current Expenditures of                Yes         1                                                                     $3,005.00
    Individual Debtor(s)

                                                            Total >           $92,392.61               $137,138.38
                Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 24 of 44
 Form 6-Summary                        UNITED STATES BANKRUPTCY COURT
 (10/05)                                  SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION
IN RE:   Raymond Valdez                                                                CASE NO   06-30097
         Andrea Valdez
                                                                                      CHAPTER    13



                           Statistical Summary of Certain Liabilities (28 U.S.C. § 159)
                                           [Individual Debtors Only]

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                       Amount

 Domestic Support Obligations (from Schedule E)                                        $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                              $0.00
 (from Schedule E)


 Claims for Death or Personal Injury While Debtor Was                                  $0.00
 Intoxicated (from Schedule E)


 Student Loan Obligations (from Schedule F)                                            $0.00

 Domestic Support, Separation Agreement, and Divorce Decree                            $0.00
 Obligations Not Reported on Schedule E


 Obligations to Pension or Profit-Sharing, and Other Similar                           $0.00
 Obligations (from Schedule F)


                                                               TOTAL                   $0.00



The foregoing information is for statistical purposes only under 28 U.S.C. § 159.
                   Case 06-30097 Document 8 Filed in TXSB on 01/10/06 Page 25 of 44
                                          UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION
   IN RE:   Raymond Valdez                                                               CASE NO          06-30097
            Andrea Valdez
                                                                                         CHAPTER          13

                            DECLARATION CONCERNING DEBTOR'S SCHEDULES


                         DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                       20
                                                                                                                (Total shown on summary page plus 1.)
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 01/10/2006                                                Signature    /s/ Raymond Valdez
                                                                           Raymond Valdez

Date 01/10/2006                                                Signature     /s/ Andrea Valdez
                                                                            Andrea Valdez
                                                               [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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                                                UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION
  IN RE:     Raymond Valdez                                                                          CASE NO        06-30097
             Andrea Valdez
                                                                                                    CHAPTER         13

                                               STATEMENT OF FINANCIAL AFFAIRS


       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
¨      including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $3,224.37                   2005 YTD Debtor Income from employment

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
¨      two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $16,728.00                  2004 Debtor Income from SS

        $16,728.00                  2003 Debtor Income from SS

        $15,334.00                  2005 YTD Debtor Income from SS

        $5,928.00                   2003 Joint Debtor Income from SS

        $5,928.00                   2004 Joint Debtor Income from SS

        $5,434.00                   2005 YTD Joint Debtor Income from SS

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
¨      debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all property that
       constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on
       account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
       credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        Wells Fargo Home Mortgage                                                                $2,262.63               $55,243.96
        P.O. Box 54017
        Los Angeles, CA 90054

        Chrysler Financial                                                                       $910.16                 $22,400.01
        P.O.Box 55000 Dept 277001
        Detroit,MI 48255

        TDECU                                                                                    $921.46                 $25,935.28
        1001 FM 2004
        Lake Jackson, TX 77566
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                                               UNITED STATES BANKRUPTCY COURT
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                                              STATEMENT OF FINANCIAL AFFAIRS
                                                                Continuation Sheet No. 1


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
þ      preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than
       $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
þ      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
þ      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
þ      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
þ      to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
þ      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
þ      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
þ      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
þ      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                              STATEMENT OF FINANCIAL AFFAIRS
                                                                Continuation Sheet No. 2


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
¨      consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Boren Swindell & Assoc.                                       12/13/2005                       $250.00
        2900 Weslayan, Suite 595
        Houston, TX 77027

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
þ      either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
þ
       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
þ      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
þ      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
þ      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
þ      during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.
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                                               STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 3


       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
þ      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
þ      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
þ      Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
þ      or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
þ      dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF

None
       b.TAXPAYER
          Identify anyI.D. NO. listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
                       business
þ
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                                                   SOUTHERN DISTRICT OF TEXAS
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              Andrea Valdez
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                                               STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
þ      keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
þ      and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
þ      debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
þ      the debtor within two years immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
þ      dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
þ

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
þ

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
þ      holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
þ      of this case.


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
þ      preceding the commencement of this case.
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                                               STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 5


       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
þ      bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
þ      purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
þ      has been responsible for contributing at any time within six years immediately preceding the commencement of the case.




I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.


Date 01/10/2006                                                         Signature          /s/ Raymond Valdez
                                                                        of Debtor          Raymond Valdez


Date 01/10/2006                                                         Signature       /s/ Andrea Valdez
                                                                        of Joint Debtor Andrea Valdez
                                                                        (if any)

 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C.
 Sections 152 and 3571
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B201 (10/05)                              UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF TEXAS
                                                  HOUSTON DIVISION
IN RE:   Raymond Valdez
         Andrea Valdez


                    NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S) UNDER § 342(b)
                                    OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from credit
counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings you may
commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all information
you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily
described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide to
file a petition. Court employees cannot give you legal advice.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($220 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $274)
1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It
is up to the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($150 filing fee, $39 administrative fee: Total fee $189)
1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

2. Under Chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
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IN RE:   Raymond Valdez
         Andrea Valdez


                    NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S) UNDER § 342(b)
                                    OF THE BANKRUPTCY CODE
3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.
                                                        Certificate of the Debtor

I (We), the debtor(s), affirm that I (we) have received and read this notice.

Raymond Valdez                                                         X /s/ Raymond Valdez                             01/10/2006
Andrea Valdez                                                           Signature of Debtor                             Date
Printed Name(s) of Debtor(s)
                                                                       X /s/ Andrea Valdez                              01/10/2006
Case No. (if known)    06-30097                                         Signature of Joint Debtor (if any)              Date
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                                              SOUTHERN DISTRICT OF TEXAS
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                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                Fixed Fee:         $2,050.00
     Prior to the filing of this statement I have received:                                          $250.00
     Balance Due:                                                                                   $1,800.00

2. The source of the compensation paid to me was:
             þ    Debtor                  ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ    Debtor                  ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   Adversarial proceedings, contested motions, motions to sell property or incur debts and requests for expedited
   hearings.

                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      01/10/2006                              /s/ Sonya Kapp
                         Date                                 Sonya Kapp                                 Bar No. 11095395
                                                              Boren, Swindell & Associates, L.L.P.
                                                              2900 Weslayan, #595
                                                              Houston, TX 77027
                                                              Phone: (713) 622-8858 / Fax: (713) 622-3701




      /s/ Raymond Valdez                                                   /s/ Andrea Valdez
     Raymond Valdez                                                       Andrea Valdez
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                                         SOUTHERN DISTRICT OF TEXAS
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  IN RE:   Raymond Valdez                                                            CASE NO   06-30097
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                                     VERIFICATION OF CREDITOR MATRIX


     The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.



Date 01/10/2006                                          Signature    /s/ Raymond Valdez
                                                                     Raymond Valdez



Date 01/10/2006                                          Signature    /s/ Andrea Valdez
                                                                     Andrea Valdez
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                  Boren Swindell & Assoc.
                  2900 Weslayan, Suite 595
                  Houston, TX 77027



                  Cal-com Cred
                  Po Box 1005
                  Port Lavaca, TX 77979



                  Chrysler Credit
                  5225 Crooks Rd Ste 140
                  Troy, MI 48098



                  Citibank Usa
                  Po Box 9714
                  Gray, TN 37615



                  Credit First N A
                  6275 Eastland Rd
                  Brook Park, OH 44142



                  Credit Systems International/ Collection
                  1277 Country Club
                  Fort Worth, TX 76112



                  Deere Credit Services
                  8402 Excelsior Dr
                  Madison, WI 53717



                  DeTar Hospital
                  506 E San Antonio St
                  Victoria, TX 77901



                  DeTar Hospital
                  506 E San Antonio
                  Victoria, TX 77901
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                  Gemb/dillards
                  Po Box 981400
                  El Paso, TX 79998



                  Gemb/funancing
                  950 Forrer Blvd
                  Kettering, OH 45420



                  Hawkeye Adj (original Creditor:satkartar
                  2300 Pierce St
                  Sioux City, IA 51104



                  IRS
                  P.O. Box 21126
                  Philadelphia, PA 19114



                  John Swannack, DDS
                  105 Professional Drive
                  Victoria, TX 77901



                  Lowes/mbga
                  Po Box 103065
                  Roswell, GA 30076



                  Medical Data Systems I (original Credito
                  2001 9th Ave Ste 312
                  Vero Beach, FL 32960



                  National Credit System (original Credito
                  3800 Camp Creek Pkwy B18
                  Atlanta, GA 30331



                  Nco Fin/31 (original Creditor:utmb Physi
                  Po Box 41667
                  Philadelphia, PA 19101
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                  Texas Dow Employees Cu
                  1001 F M 2004
                  Lake Jackson, TX 77566



                  Tractor Supply/cbusa N
                  Po Box 9714
                  Gray, TN 37615



                  Wells Fargo
                  Po Box 5445
                  Portland, OR 97228



                  Wells Fargo Home Mtg
                  405 Sw 5th St
                  Des Moines, IA 50309
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Form B22C (Chapter 13) (10/05)                                            According to the calculations required by this statement:
In re: Raymond Valdez                                               þ   The applicable commitment period is 3 years.
       Andrea Valdez                                                ¨   The applicable commitment period is 5 years.
                                                                    ¨   Disposable Income is determined under § 1325(b)(3).
Case Number: 06-30097
                                                                    þ   Disposable Income is not determined under § 1325(b)(3).
                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)
                        STATEMENT OF CURRENT MONTHLY INCOME
              AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                        FOR USE IN CHAPTER 13
In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly.
Joint debtors may complete one statement only.

                                                    Part I. REPORT OF INCOME
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a. ¨ Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
       b. þ Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
       All figures must reflect average monthly income for the six calendar months prior to filing
 1                                                                                                        Column A          Column B
       the bankruptcy case, ending on the last day of the month before the filing. If you received
       different amounts of income during these six months, you must total the amounts
                                                                                                           Debtor's         Spouse's
       received during the six months, divide this total by six, and enter the result on the
                                                                                                            Income            Income
       appropriate line.
 2     Gross wages, salary, tips, bonuses, overtime, commissions.                                               $787.58              $0.00
       Income from the operation of a business, profession, or farm. Subtract Line b from
       Line a and enter the difference on Line 3. Do not enter a number less than zero. Do not
       include any part of the business expenses entered on Line b as a deduction in Part IV.
 3
         a.   Gross receipts                                               $0.00              $0.00
         b.   Ordinary and necessary business expenses                     $0.00              $0.00
         c. Business income                                      Subtract Line b from Line a                       $0.00             $0.00
       Rent and other real property income. Subtract Line b from Line a and enter the
       difference on Line 4. Do not enter a number less than zero. Do not include any part of
       the operating expenses entered on Line b as a deduction in Part IV.
 4       a.   Gross receipts                                               $0.00              $0.00
         b.   Ordinary and necessary operating expenses                    $0.00              $0.00
         c.   Rental income                                         Subtract Line b from Line a                    $0.00             $0.00
 5     Interest, dividends, and royalties.                                                                         $0.00             $0.00
 6     Pension and retirement income.                                                                              $0.00             $0.00
       Regular contributions to the household expenses of the debtor or the debtor's
 7     dependents, including child or spousal support. Do not include contributions from the                    $200.00              $0.00
       debtor's spouse.
       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
       However, if you contend that unemployment compensation received by you or your
       spouse was a benefit under the Social Security Act, do not list the amount of such
 8     compensation in Column A or B, but instead state the amount in the space below:
         Unemployment compensation claimed to be a                     Debtor            Spouse
         benefit under the Social Security Act                              $0.00           $0.00                  $0.00             $0.00
       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Total and enter on Line 9. DO NOT INCLUDE any benefits
       received under the Social Security Act or payments received as a victim of a war crime,
       crime against humanity, or as a victim of international or domestic terrorism.
 9
         a.
        b.
       Total and enter on Line 9                                                                                   $0.00             $0.00
       Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
 10                                                                                                             $987.58              $0.00
       through 9 in Column B. Enter the total(s).
       Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B,
 11
       and enter the total. If Column B has not been completed, enter the amount from Line 10,                             $987.58
       Column A.



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                            Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
 12    Enter the amount from Line 11.                                                                                        $987.58
       Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
 13    calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
       spouse, enter the amount of the income listed in Line 10, Column B that was NOT regularly contributed to
       the household expenses of you or your dependents. Otherwise, enter zero.
 14    Subtract Line 13 from Line 12 and enter the result.                                                                   $987.58
       Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12
 15                                                                                                                       $11,850.96
       and enter the result.
       Applicable median family income. Enter the median family income for the applicable state and household
       size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
 16    court.)

       a. Enter debtor's state of residence:              Texas            b. Enter debtor's household size:  4       $56,246.00
       Application of § 1325(b)(4). Check the applicable box and proceed as directed.
       þ The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is
 17        3 years" at the top of page 1 of this statement and complete Part VII of this statement. DO NOT COMPLETE PARTS III, IV,
           V OR VI.
       ¨ The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period
           is 5 years" at the top of page 1 of this statement and continue with Part III of this statement.



               Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
 18    Enter the amount from Line 11.

       Marital adjustment. If you are married, but are not filing jointly with your spouse, enter the amount of the
 19    income listed in Line 10, Column B that was NOT regularly contributed to the household expenses of you
       or your dependents. If you are unmarried or married and filing jointly with your spouse, enter zero.

 20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.

 21    Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12
       and enter the result.

 22    Applicable median family income. Enter the amount from Line 16.
       Application of § 1325(b)(3). Check the applicable box and proceed as directed.
       ¨ The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined
 23       under § 1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
       ¨    The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not
            determined under § 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. DO NOT
            COMPLETE PARTS IV, V, OR VI.



                      Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                       Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
       National Standards: food, clothing, household supplies, personal care, and miscellaneous.
       Enter "Total" amount from IRS National Standards for Allowable Living Expenses for the applicable family
 24    size and income level. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
       bankruptcy court.)
       Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
 25A   and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)




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       Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
       IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
       total of the Average Monthly Payments for any debts secured by your home, as stated in Line 47; subtract
 25B   Line b from Line a and enter the result in Line 25B. DO NOT ENTER AN AMOUNT LESS THAN ZERO.
         a.   IRS Housing and Utilities Standards; mortgage/rent Expense
         b.   Average Monthly Payment for any debts secured by your home, if
              any, as stated in Line 47
         c.   Net mortgage/rental expense                                               Subtract Line b from Line a.
       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
       and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
       Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
 26    for your contention in the space below:




       Local Standards: transportation; vehicle operation/public transportation expense.
       You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
       operating a vehicle and regardless of whether you use public transportation.
 27    Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 7.   ¨ 0 ¨ 1 ¨ 2 or more
       Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for
       the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

       Local Standards: transportation ownership/lease expense; Vehicle 1.
       Check the number of vehicles for which you claim an ownership/lease expense. (You may not claim an
       ownership/lease expense for more than two vehicles.)         ¨ 1 ¨ 2 or more
       Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
 28    Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
       Line a and enter the result in Line 28. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs, First Car
         b.   Average Monthly Payment for any debts secured by Vehicle 1, as
              stated in Line 47
         c.   Net ownership/lease expense for Vehicle 1                                 Subtract Line b from Line a.

       Local Standards: transportation ownership/lease expense; Vehicle 2.
       Complete this Line only if you checked the "2 or more" Box in Line 28.
       Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
 29    Line a and enter the result in Line 29. DO NOT ENTER AN AMOUNT LESS THAN ZERO.
         a.   IRS Transportation Standards, Ownership Costs, Second Car
         b.   Average Monthly Payments for debts secured by Vehicle 2, if any,
              as stated in Line 47
         c.   Net ownership/lease expense for Vehicle 2                                 Subtract Line b from Line a.
       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
       federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self
 30    employment taxes, social security taxes, and Medicare taxes. DO NOT INCLUDE REAL ESTATE OR
       SALES TAXES.
       Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
       deductions that are required for your employment, such as mandatory retirement contributions, union
 31    dues, and uniform costs. DO NOT INCLUDE DISCRETIONARY AMOUNTS, SUCH AS NON-MANDATORY
       401(K) CONTRIBUTIONS.




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       Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for
 32    term life insurance for yourself. DO NOT INCLUDE PREMIUMS FOR INSURANCE ON YOUR
       DEPENDENTS, FOR WHOLE LIFE, OR FOR ANY OTHER FORM OF INSURANCE.
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
 33    required to pay pursuant to court order, such as spousal or child support payments. DO NOT INCLUDE
       PAYMENTS ON PAST DUE SUPPORT OBLIGATIONS INCLUDED IN LINE 49.
       Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
       Enter the total monthly amount that you actually expend for education that is a condition of employment
 34
       and for education that is required for a physically or mentally challenged dependent child for whom no
       public education providing similar services is available.

 35    Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on
       childcare. DO NOT INCLUDE PAYMENTS MADE FOR CHILDREN'S EDUCATION.
       Other Necessary Expenses: heath care. Enter the average monthly amount that you actually expend on
 36    health care expenses that are not reimbursed by insurance or paid by a health savings account. DO NOT
       INCLUDE PAYMENTS FOR HEALTH INSURANCE LISTED IN LINE 39.
       Other Necessary Expenses: telecommunication services. Enter the average monthly expenses that you
 37    actually pay for cell phones, pagers, call waiting, caller identification, special long distance, or internet
       services necessary for the health and welfare of you or your dependents. DO NOT INCLUDE ANY
       AMOUNT PREVIOUSLY DEDUCTED.
 38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.
                                  Subpart B: Additional Expense Deductions under § 707(b)
                            Note: Do not include any expenses that you have listed in Lines 24-37
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the average monthly
       amounts that you actually expend in each of the following categories and enter the total.
        a. Health Insurance
 39
        b. Disability Insurance
         c.   Health Savings Account
                                                                                        Total: Add Lines a, b and c
       Continued contributions to the care of household or family members. Enter the actual monthly expenses
       that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
 40    ill, or disabled member of your household or member of your immediate family who is unable to pay for
       such expenses. DO NOT INCLUDE PAYMENTS LISTED IN LINE 34.

       Protection against family violence. Enter any average monthly expenses that you actually incurred to
 41    maintain the safety of your family under the Family Violence Prevention and Services Act or other
       applicable federal law.

       Home energy costs in excess of the allowance specified by the IRS Local Standards. Enter the average
       monthly amount by which your home energy costs exceed the allowance in the IRS Local Standards for
 42
       Housing and Utilities. YOU MUST PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION
       DEMONSTRATING THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Education expenses for dependent children under 18. Enter the average monthly expenses that you
       actually incur, not to exceed $125 per child, in providing elementary and secondary education for your
 43    dependent children less than 18 years of age. YOU MUST PROVIDE YOUR CASE TRUSTEE WITH
       DOCUMENTATION DEMONSTRATING THAT THE AMOUNT CLAIMED IS REASONABLE AND
       NECESSARY AND NOT ALREADY ACCOUNTED FOR IN THE IRS STANDARDS.
       Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
       expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to
 44    exceed five percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or
       from the clerk of the bankruptcy court.) YOU MUST PROVIDE YOUR CASE TRUSTEE WITH
       DOCUMENTATION DEMONSTRATING THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND
       NECESSARY.

       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
 45
       cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).
 46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.




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                                              Subpart C: Deductions for Debt Payment
       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly
       Payment. The Average Monthly Payment is the total of all amounts contractually due to each Secured
       Creditor in the 60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should
       include payments of taxes and insurance required by the mortgage. If necessary, list additional entries on
 47    a separate page.

                       Name of Creditor                 Property Securing the Debt        60-month Average Payment
         a.
         b.
         c.
                                                                                          Total: Add Lines a, b and c
       Past due payments on secured claims. If any of the debts listed in Line 47 are in default, and the property
       securing the debt is necessary for your support or the support of your dependents, you may include in your
       deductions 1/60th of the amount that you must pay the creditor as a result of the default (the "cure
       amount") in order to maintain possession of the property. List any such amounts in the following chart
       and enter the total. If necessary, list additional entries on a separate page.
 48
                   Name of Creditor            Property Securing the Debt in Default       1/60th of the Cure Amount
         a.
         b.
         c.
                                                                                          Total: Add Lines a, b and c
       Payments on priority claims. Enter the total amount of all priority claims (including priority child support
 49
       and alimony claims), divided by 60.
       Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
       resulting administrative expense.

         a.   Projected average monthly Chapter 13 plan payment.

         b.   Current multiplier for your district as determined under schedules
 50           issued by the Executive Office for United States Trustees. (This
                                                                                                                        %
              information is available at www.usdoj.gov/ust/ or from the clerk of
              the bankruptcy court.)

         c.   Average monthly administrative expense of Chapter 13 case                   Total: Multiply Lines a and b
 51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.
                                     Subpart D: Total Deductions Allowed under § 707(b)(2)
 52    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 38, 46 and 51.


                     Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
 53    Total current monthly income. Enter the amount from Line 20.
       Support income. Enter the monthly average of any child support payments, foster care payments, or
 54    disability payments for a dependent child, included in Line 7, that you received in accordance with
       applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.
       Qualified retirement deductions. Enter the monthly average of (a) all contributions or wage deductions
 55    made to qualified retirement plans, as specified in § 541(b)(7) and (b) all repayments of loans from
       retirement plans, as specified in § 362(b)(19).

 56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.
       Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, and 56 and enter
 57
       the result.
 58    Monthly Disposable Income under § 1325(b)(2). Subtract Line 57 from Line 53 and enter the result.




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                                           Part VI: ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
       under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
       monthly expense for each item. Total the expenses.

                                              Expense Description                                                   Monthly Amount
 59
         a.
         b.

         c.

                                                                         Total: Add Lines a, b, and c



                                                       Part VII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct.
       (If this is a joint case, both debtors must sign.)



 60            Date: 01/10/2006                             Signature:     /s/ Raymond Valdez
                                                                                                 (Debtor)


               Date: 01/10/2006                             Signature:     /s/ Andrea Valdez
                                                                                           (Joint Debtor, if any)




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